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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SHARI AHRENDSEN, BARRY CLEMENT,
 and LISA BUSH, on behalf of the World
 Travel, Inc. Employee Stock Ownership Plan,
 and on behalf of a class of all other persons
 similarly situated,
                                                     Case No. 2:21-cv-02157-HB
                   Plaintiffs,
 v.
 PRUDENT FIDUCIARY SERVICES, LLC, a
 California Limited Liability Company,
 MIGUEL PAREDES, JAMES A. WELLS,
 JAMES R. WELLS, AND RICHARD G.
 WELLS.
                   Defendants.

                                   [PROPOSED] ORDER

       Upon consideration of the Paredes Defendants’ motion to dismiss Plaintiffs’ First

Amended Complaint, Dkt. ___, all responses thereto, and oral argument presented, the Court

determines that the Paredes Defendants’ motion should be GRANTED. It is, therefore,

       ORDERED that Plaintiffs’ First Amended Complaint is hereby DISMISSED.



So ordered this the ____ day of _________________, 2021.



                                                 Hon. Harvey Bartle, III
